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Case 2:10-cv-00094-KS-MTP Document 58-21 Filed 07/22/11 Page 1 of 1

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MARION/WALTHALL
CORRECTIONAL FACILITY

PHYSICAL PLANT ACA STANDARD 4-4133
INMATE HOUSING

PURPOSE:

PROCEDURE:

INMATE SLEEPING AREAS
(Occupancy and Space Requirements)
EFFECTIVE DATE INITIAL DATE PAGE 1 OF 1
03-01-99 12-01-98
POLICY: MWCEF’S WRITTEN POLICY, PROCEDURE AND PRACTICE

PROVIDES THAT SINGLE-OCCUPANCY CELLS/ROOMS

SHALL BE AVAILABLE, WHEN INDICATED, FOR THE

FOLLOWING:

° INMATES WITH SEVERE MEDICAL DISABILITIES

° INMATES SUFFERING FROM SERIOUS MENTAL
ILLNESS

e SEXUAL PREDATORS

° INMATES LIKELY TO BE EXPLOITED OR VICTIMIZED
BY OTHERS

° INMATES WHO HAVE OTHER SPECIAL NEEDS FOR
SINGLE HOUSING,

To ensure those inmates who have special needs be housed for their own
security or in such cases, the security of others.

1. All inmates at MWCF must meet medical class { and II requirements.
2. Special needs inmates are returned to CMCF to be placed i in
accommodating facilities.
3. Inmates who are likely to be exploited or victimized by others are
moved within the Facility to ensure their safety and needs.
4. Inmates who have special needs for single housing are placed in single
occupancy cells to ensure their safety and needs.

AUTHORITY SIGNATURE: DATE:

